USDC IN/ND case 3:10-cr-00081-JD-MGG   documentCOURT
                        UNITED STATES DISTRICT  41 filed 12/02/10                       page 1 of 3
                             NORTHERN DISTRICT OF INDIANA
                                 SOUTH BEND DIVISION


UNITED STATES OF AMERICA                     )
                                             )
               v.                            )               CAUSE NO. 3:10cr81 JD
                                             )
KELLY BILL                                   )

                            FINDINGS AND RECOMMENDATION
                               OF THE MAGISTRATE JUDGE
                                UPON A PLEA OF GUILTY


       On November 9, 2010, the Honorable Jon E. DeGuilio, District Judge, referred this case

to the undersigned to make findings as to whether the defendant (1) is competent to enter a plea;

(2) knowingly and voluntarily wishes to enter a plea to the charge(s); (3) understands the

charge(s); (4) whether there exists a factual basis for the charge(s); and a recommendation as to

whether a plea of guilty should be accepted by the United States District Court Judge. On

December 2, 2010, a hearing was held on the defendant’s request to enter a plea of guilty.

Appearing for the United States was Assistant United States Frank E. Schaffer. Appearing for

the defendant was Robert D. Truitt; the defendant was personally present. With the written

consent of defendant, his counsel and the counsel for the United States, the undersigned

proceeded to conduct the hearing.

       In consideration of that hearing and the statements made by the defendant under oath on

the record and in the presence of counsel, the remarks of the Assistant United States Attorney and

of counsel for defendant,

       I FIND as follows:

       (1) that defendant is competent to plead guilty;

       (2) that the defendant understands that his answers may later be used against him in a
USDC IN/ND case 3:10-cr-00081-JD-MGG                    document 41      filed 12/02/10      page 2 of 3
 prosecution for perjury or false statement;

         (3) that defendant understands the nature of the charge against him to which the plea is

 offered;

         (4) that the defendant understands the charge and what the maximum possible sentence is,

 including the effect of the supervised release term, and defendant understands that the sentencing

 guidelines apply and that the Court may depart from those guidelines under some circumstances;

         (5) that the defendant understands his right to trial by jury, to persist in his plea of not

 guilty, to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and

 his right against compelled self-incrimination; to appeal his conviction, if convicted, and that the

 defendant has knowingly and voluntarily waived those rights, and wishes to plead guilty.

         (6) that the plea of guilty by the defendant has been knowingly and voluntarily made and

 is not the result of force or threats or of promises apart from the plea agreement between the

 parties; and,

         (7) that there is a factual basis for the defendant’s plea.

         In light of those findings, I now recommend that; (1) the Court accept the defendant’s

 plea of guilty (2) that the defendant be adjudged guilty of Counts 1 and 2 of the Superceding

 Indictment, in violation of Count 1, Title 18, U.S.C. §922(g)(3) and Count 2, Title 18, U.S.C.

 §922(g)(1), and have sentence imposed. A Presentence Report has been ordered. Should this

 Report and Recommendation be accepted and the Defendant adjudged guilty, sentencing has

 been scheduled for March 3, 2011 at 10:00 a.m. (EST), before Judge Jon E. DeGuilio.

 Sentencing memorandum and any motions shall be filed no later than February 24, 2011.

 Objections to the Findings and Recommendation are waived unless filed and served within ten

 (10) days. 28 U.S.C. § 636(b)(1)(B).


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USDC IN/ND case 3:10-cr-00081-JD-MGG       document 41     filed 12/02/10     page 3 of 3
      DATED: December 2, 2010

                                             s/Christopher A. Nuechterlein
                                             Christopher A. Nuechterlein
                                             United States Magistrate Judge




                                       3
